                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                 CHARLOTTE DIVISION

PATRICK UDOEWA, individually and on
behalf of all others similarly situated,

       Plaintiff,

v.
                                                  Civil Action 3:18-cv-000535

ETTAIN GROUP, INC.,

       Defendant.


         UNOPPOSED MOTION FOR APPROVAL OF SETTLEMENT OF FLSA
                         COLLECTIVE ACTION

        Pursuant to 29 U.S.C. § 216(b), and for the reasons stated in the Memorandum of Law filed

 herewith, Named Plaintiff Patrick Udoewa respectfully submits this unopposed Motion seeking an

 entry of an Order approving the Parties’ proposed settlement in the above-captioned collective

 action lawsuit and authorizing the prompt dissemination of the Notice of Collective Action

 Settlement (“Settlement Notice”) along with Settlement Award checks to all Settlement Collective

 Members as well as providing the additional relief outlined in the [Proposed] Order.



 Dated: September 17, 2019                           Respectfully submitted,



                                                     /s/ Andrew C. Ficzko

                                                     Andrew C. Ficzko
                                                     STEPHAN ZOURAS, LLP
                                                     100 North Riverside Plaza,
                                                     Suite 2150
                                                     Chicago, Illinois 60606
                                                     (312) 233-1550
                                                     ATTORNEYS FOR PLAINTIFF AND
                                                     THE SETTLEMENT COLLECTIVE
                                                     MEMBERS




                              CERTIFICATE OF SERVICE

       I, the attorney, hereby certify that on September 17, 2019, I filed the attached with the

Clerk of the Court using the ECF system, which will send such filing to all attorneys of record.


                                                             /s/ Andrew C. Ficzko
